     Case 1:18-cr-20794-TLL-PTM ECF No. 1, PageID.1 Filed 11/28/18 Page 1 of 6




                       TINITED STATES DISTRICT COLIRT
                       EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,
                                               Case: I : l8<r-2079-l
                    Plaintiff,                 Judge: Ludington- Thomas L'
                                               MJ: Moms. Patricia T.
                                               Filed: I I-28-20t8 At 0'l:2'l PM
                                                                                (krc)
MICHAEL LEE JOHNSON,                           lNoi USe t. Michael Lee Johnson

                    Defendant.




                                  INDICTMENT


THE GRAND JURY CHARGES:

                                   COUNT 1
                (18 U.S.C. $S 13,1151,1152 and M.C.L.750.349b)
                            (Unlawful Imprisonment)

        On or about October 23,2018, in the Northern Division of the Eastern

District of Michigan, within Indian country, as defined in 18 U.S.C. S 1151, that is,

the Isabella Reservation, Michael Lee Johnson, a non-Indian, knowingly

restrained C.J., an Indian, under the circumstance that C.J. was secretly confined

and C.J. was restrained to facilitate the commission of another felony, in violation

of   18 U.S.C. $$ 13, 1151,1152 and   M.C.L. 750.349b.




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                                   COUNT 2
                    (18 U.S.C. $$ 113(a)(8), 1151 and 1152)
          (Assault of an [ntimate or Dating Partner by Strangulation
                          or Attempted Strangulation)

      On or about October 24,2018, in the Northem Division of the Eastem

District of Michigan, within Indian country as defined in 1 8 U.S.C. $     1 15 1   , that is,

the Isabella Reservation, Michael Lee Johnson, a non-Indian, assaulted C.J., an

Indian and his intimate and dating partner by attempting to strangle and by

strangling her, in violation of 18 U.S.C. $$ 1 13(a)(8), I 151 and 1152.


                                    COUNT 3
                     (18 U.S.C. $$ 113(a)(8), 1151 and 1152)
            (Assault of an Intimate or Dating Partner by Suffocation
                            or Attempted Suffocation)

      On or about October 24,2018, in the Northem Division of the Eastem

District of Michigan, within Indian country, as defined in 18 U.S.C. g 1151, that is,

the Isabella Reservation, Michael Lee Johnson, a non-Indian, assaulted C.J., an

Indian and his intimate and dating partner by attempting to suffocate and by

suffocating her, in violation of l8 U.S.C. $$ 113(a)(8), 1151 and 1152




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                                              COUNT 4
                            (18 U.S.C. $$ 2261(a)(1) & (2), 1lsl)
                               (I nterstate Domestic Violence)


       On or about October 24,2018, in the Northem Division of the Eastern

District of Michigan, Michael Lee Johnson, a non-lndian, left Indian country, as

defined in I 8 U.S.C. $ I     15 I ,   that is, the Isabella Reservation, with the intent to

injure and intimidate C.J., his intimate partner and dating partner, and caused C.J.

to leave Indian country by force, coercion, and duress, while in the course ofand as

a result   of said travel, committed domestic violence, a crime of violence against

C.J., in violation   of   18 U.S.C. $$ 2261(a)(1)      & (2), 1151.


                                              COUNT 5
                                       (18 U.S.C. S 1s12(bx3)
                                        (Witness Tampering)

       On or about October 23, 2018, in the Northem Division of the Eastem

District of Michigan, Michael Lee Johnson, knowingly intimidated, threatened,

and comrptly persuaded C.J., or attempted to do so, with the intent to hinder, delay,

or prevent the communication to a law enforcement officer or judge of the United

States of information relating to the commission or possible commission of a

Federal offense and a violation of conditions of parole, in violation          of   I8   U.S.C.

$ 1512(b)(3).




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                                     COUNT 6
                              (r8 u.s.c. s 1sl2(bx3))
                               (Witness Tampering)

       On or about October 24,2018, in the Northern Division of the Eastem

District of Michigan, Michael Lee Johnson, knowingly intimidated, threatened,

and comrptly persuaded C.J., or attempted to do so, with the intent to hinder,

delay, or prevent the communication to a law enforcement officer or judge of the

United States of information relating to the commission or possible commission of

a Federal offense and a violation of conditions of parole, in violation   of   18 U.S.C.


$   l5l2(bx3).

                                     COUNT 7
                              (18 u.S.C. S ls12(bX3))
                               (Witness Tampering)

       On or about October 25,2018, in the Northem Division of the Eastem

District of Michigan, Michael Lee Johnson, knowingly intimidated, threatened,

and comrptly persuaded C.J., or attempted to do so, with the intent to hinder, delay,

or prevent the communication to a law enforcement officer or judge of the United

States of information relating to the commission or possible commission of a

Federal offense and a violation of conditions of parole, in violation   of l8 U.S.C.

$ 1512(bX3).




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                                         COUNT 8
                         (18 U.S.C. $$   Il3(a)(a),   1151 and 1152)
                     (Assault by Striking, Beating or Wounding)

         On or about October 23,2018, in the Northem Division of the Eastem

District of Michigan, within Indian country, as defined in 18 U.S.C. g 1151, that is,

the Isabella Reservation, Michael Lee Johnson,          a   non-Indian, did assault by

striking, beating and wounding, C.J., an Indian, in violation of 18 U.S.C. $$

1   l3(a)(a), I 151 and I I 52.


Dated: November28,2018                            THIS IS A TRUE BILL

                                                  s/Grand Jury Foreperson
                                                  GRAND JURY FOREPERSON
MATTHEW SCHNEIDER
United States Attomey

s/Roy R. Kranz                                    s/Anthony P.
ROY R. KRANZ (P56903)                             ANTHONY        VANCE
                                                                 P.
Assistant U.S. Attomey                            Assistant U.S. Attomey
101 First Street, Suite 200                       Chief, Branch Offices
Bay City, Michigan 48108-5747
(989) 89s-s712
roy.kranz@usdoi. gov




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Com anion Case information MUST be com leted b AUSA and initialed
   United States District Court                            Criminal Gase Cover Sheet                                 Case Number
   Eastern District of Michigan

NOTE: lt is the responsibillty ot the Assistant U.S. Attorney slgning this form to complete it accurately in all respects



                                                                                               Case: l: l8-cr-20794
                                                                                               Judge: Ludington. Thomas L.
 This may be a companion case based upon LCrR 57.10 (b)(4)1                                    MJ: Morris. Patricia T.
                                                                                               Filed: I l-28-2018 At 0.1:2-l PM
               tr Yes                         XNo                                              INDI USA r'. Michael Lee Johnson (krc)

          Case Title: USA            v.    Michael Johnson

          County where offense occurred: lsabella

          Check      One: X Felony E Misdemeanor tr Petty
                    _lndictmenU_lnformation --                                 no prior complaint.
                       X lndictmenU_lnformation--                              based upon prior complaint [18-m.i-30567]
                          lndictmenV lnformation --                            based upon LCrR 57.'10 (d) Icompleae Superseding section betowl

Superseding Gase lnformation

Superseding to Case No:                                                                          Judge:

          n         Corrects errors; no additional charges or defendants.
          tr        lnvolves, for plea purposes, different charges or adds counts.
          !         Embraces same subject matter but adds the additional defendants or charges below

                     Defendant name                                                Charges                           Prior Complaint (if applicable)



Please take notice that the below listed Assistant United States Attorney is t e attorney of record for
the above captioned case.


Date: November 28, 2018                                                  RoyR.kranz
                                                                                            4--
                                                                                             \J
                                                                         Assistant United States Attorney
                                                                         101 First Street, Suite 2O0,Bay City, Ml 48708
                                                                         Phone: 989-895-5712
                                                                         Fax 989-895-5790
                                                                         E-Mail address: roy.kranz@usdoj.gov
                                                                         Attorney Bar#: P56903


samelransaction oroccurrence. Cases may be companion cases even though one ofthem may have akeady been terminated.
